                                 Case 17-70408 Document 30 Filed in TXSB on 11/30/17 Page 1 of 7
 Fill in this information to identify your case:

  Debtor 1               Gregorio                                Trevino
                         First Name            Middle Name       Last Name

  Debtor 2               Maria                 Carmen            Trevino
  (Spouse, if filing)    First Name            Middle Name       Last Name                                                        Check if this is:
  United States Bankruptcy Court for the:                        Southern District of Texas                                       ❑An amended filing
  Case number           17-70408
                                                                                                                                  ❑A supplement showing postpetition
                                                                                                                                       chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                           Debtor 2 or non-filing spouse

                                                                             ✔Employed
                                                                             ❑                                                  ❑Employed
                                                                                                                                ✔ Not Employed
     If you have more than one job,            Employment status
     attach a separate page with                                             ❑Not Employed                                      ❑
     information about additional
     employers.                                                              Attorney
                                               Occupation
     Include part time, seasonal, or
                                                                             Gregorio Trevino Attorney at Law
     self-employed work.                       Employer's name

     Occupation may include student                                          300 E. Interstate 2 Ste I
                                               Employer's address
     or homemaker, if it applies.                                             Number Street                                     Number Street




                                                                             Pharr, TX 78577
                                                                              City                       State   Zip Code       City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                             For Debtor 1   For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.               2.                   $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                   3.   +               $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                              4.                   $0.00                     $0.00




Official Form 106I                                                            Schedule I: Your Income                                                                   page 1
 Debtor 1                             Case
                                      Gregorio17-70408 Document 30   Filed in TXSB on 11/30/17CasePage
                                                                 Trevino                           number2(if of 7
                                                                                                              known)
 Debtor 2                              Maria                           Carmen                             Trevino                                  17-70408
                                       First Name                      Middle Name                            Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔               4.              $0.00                    $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                   5a.             $0.00                    $0.00

      5b. Mandatory contributions for retirement plans                                                                    5b.             $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                    5c.             $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                    5d.             $0.00                    $0.00

      5e. Insurance                                                                                                       5e.             $0.00                    $0.00

      5f. Domestic support obligations                                                                                    5f.             $0.00                    $0.00

      5g. Union dues                                                                                                      5g.             $0.00                    $0.00

                                                                                                                          5h.
                                                                                                                                +          $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                         6.              $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.              $0.00                    $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                          8a.          $8,774.40                   $0.00
      8b. Interest and dividends
                                                                                                                          8b.             $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                          8c.             $0.00                    $0.00
      8d. Unemployment compensation                                                                                       8d.             $0.00                    $0.00
      8e. Social Security                                                                                                 8e.             $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                          8f.             $0.00                    $0.00
            Specify:
                                                                                                                          8g.             $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                                  8h.   +          $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                               9.           $8,774.40                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                            10.          $8,774.40   +                $0.00        =       $8,774.40

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $8,774.40
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Debtor 1                    Case
                             Gregorio17-70408 Document 30   Filed in TXSB on 11/30/17CasePage
                                                        Trevino                           number3(if of 7
                                                                                                     known)
 Debtor 2                    Maria                 Carmen                 Trevino                        17-70408
                             First Name             Middle Name            Last Name



   8a. Attached Statement

                                                                      Business Income

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business oepration.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
        1    Gross Monthly Income:                                                                                          $16,791.85
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
        2    Ordinary and necessary expense
        3    Net Employee Payroll (Other than debtor)                                                       $4,079.97
        4    Inventory Purchases (Including raw materials)                                                   $282.24
        5    Purchase of Feed/Fertilizer/Seed/Spray
        6    Rent (Other than debtor's principal residence)                                                  $825.00
        7    Utilities                                                                                       $246.24
        8    Office Expenses and Supplies                                                                    $598.60
        9    Repairs and Maintenance
        10   Vehicle Expenses
        11   Travel and Entertainment                                                                        $450.00
        12   Equipment Rental and Leases
        13   Legal/Accounting/Other Professional Fees
        14   Insurance
        15   Employee Benefits (e.g., pension, medical, etc.)
        16   Payroll Taxes                                                                                   $811.86
        17   Unemployment Taxes
        18   Worker's Compensation
        19   Other Taxes
        20   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition                      $0.00
             Business Debts
                                                                                                             $723.54
        21   Other
             Telephone
             Fuel
                                                                                                                             $8,017.45
        22   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
        23   AVERAGE NET MONTHLY INCOME(Subtract item 23 from item 1)                                                        $8,774.40




Official Form 106I                                                  Schedule I: Your Income                                        page 4
                                 Case 17-70408 Document 30 Filed in TXSB on 11/30/17 Page 4 of 7
 Fill in this information to identify your case:

  Debtor 1               Gregorio                                    Trevino
                         First Name            Middle Name           Last Name                                     Check if this is:
  Debtor 2               Maria                 Carmen                Trevino                                       ❑An amended filing
  (Spouse, if filing)    First Name            Middle Name           Last Name
                                                                                                                   ❑A supplement showing postpetition
                                                                                                                        chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                           Southern District of Texas

  Case number           17-70408                                                                                        MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Go to line 2.
     ✔Yes. Does Debtor 2 live in a separate household?
     ❑
            ✔ No
            ❑
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                      Dependent's relationship to           Dependent's         Does dependent live
     Debtor 2.                                                                            Debtor 1 or Debtor 2                  age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                            ❑No.
                                                                                           Child                                18                  ✔Yes.
                                                                                                                                                    ❑
                                                                                                                                                    ❑No.
                                                                                           Child                                22                  ✔Yes.
                                                                                                                                                    ❑
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                     Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                       $2,912.00


     If not included in line 4:
                                                                                                                                  4a.                          $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                        $150.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                          $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                        page 1
 Debtor 1                       Case
                                Gregorio17-70408 Document 30   Filed in TXSB on 11/30/17CasePage
                                                           Trevino                           number5(if of 7
                                                                                                        known)
 Debtor 2                       Maria                 Carmen                 Trevino                         17-70408
                                First Name            Middle Name            Last Name


                                                                                                                        Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                             5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                     6a.                       $327.82

       6b. Water, sewer, garbage collection                                                                   6b.                       $259.86

       6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.                       $465.00

       6d. Other. Specify:                                                                                    6d.                         $0.00

 7.    Food and housekeeping supplies                                                                         7.                        $350.00

 8.    Childcare and children’s education costs                                                               8.                          $0.00

 9.    Clothing, laundry, and dry cleaning                                                                    9.                          $0.00

 10. Personal care products and services                                                                      10.                       $125.00

 11.   Medical and dental expenses                                                                            11.                         $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                             12.                       $332.75

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.                       $150.00

 14. Charitable contributions and religious donations                                                         14.                         $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                              15a.                      $117.01
       15a. Life insurance
                                                                                                              15b.                        $0.00
       15b. Health insurance
                                                                                                              15c.                      $250.00
       15c. Vehicle insurance
                                                                                                              15d.                        $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                               16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                        17a.

       17b. Car payments for Vehicle 2                                                                        17b.

       17c. Other. Specify:                  Tuition for son                                                  17c.                      $525.00

       17d. Other. Specify:                     Fidelity                                                      17d.                      $200.00

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                   18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                               19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                       20a.                        $0.00

       20b. Real estate taxes                                                                                 20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                      20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                          20d.                      $125.00
       20e. Homeowner’s association or condominium dues                                                       20e.                        $0.00
Official Form 106J                                                              Schedule J: Your Expenses                                         page 2
 Debtor 1                   Case
                            Gregorio17-70408 Document 30   Filed in TXSB on 11/30/17CasePage
                                                       Trevino                           number6(if of 7
                                                                                                    known)
 Debtor 2                    Maria                   Carmen                 Trevino                         17-70408
                             First Name              Middle Name            Last Name



 21. Other. Specify:                                                                                         21.       +       $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                           22a.          $6,289.44

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                   22b.              $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                        22c.          $6,289.44


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a.          $8,774.40

      23b. Copy your monthly expenses from line 22c above.                                                   23b.      –   $6,289.44

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                             23c.          $2,484.96
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                               page 3
                                 Case 17-70408 Document 30 Filed in TXSB on 11/30/17 Page 7 of 7
 Fill in this information to identify your case:

  Debtor 1               Gregorio                             Trevino
                         First Name            Middle Name    Last Name

  Debtor 2               Maria                 Carmen         Trevino
  (Spouse, if filing)    First Name            Middle Name    Last Name

  United States Bankruptcy Court for the:                    Southern District of Texas

  Case number           17-70408                                                                                                     ❑Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                              12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                     (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Gregorio Trevino                                               ✘ /s/ Maria Carmen Trevino
        Gregorio Trevino, Debtor 1                                         Maria Carmen Trevino, Debtor 2


        Date 11/29/2017                                                    Date 11/29/2017
                MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
